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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

LR TRUST, On Behalf of Itself and All Others
                                       )
Similarly Situated,                    )                    Case No.
                                       )
                  Plaintiff,           )
                                       )
           v.                          )                    CLASS ACTION COMPLAINT
                                       )
ARCTIC CAT INC., CHRISTOPHER T. METZ, )
KENNETH J. ROERING, JOSEPH F. PUISHYS, )                    JURY TRIAL DEMANDED
KIM A. BRINK, TONY J. CHRISTIANSON,    )
ANDREW S. DUFF and SUSAN E. LESTER,    )
                                       )
                  Defendants,          )
                                       )
                                       )



       Plaintiff LR Trust (“Plaintiff”), by its undersigned counsel, alleges upon knowledge with

respect to itself and upon information and belief based upon, inter alia, the investigation of

counsel, as to all other allegations herein, as follows:

                        NATURE AND SUMMARY OF THE ACTION

       1.      Plaintiff, a holder of common stock of Arctic Cat Inc. (“Arctic Cat” or the

“Company”), brings this action against the Company and its Board of Directors (the “Board” or

the “Individual Defendants”), for violations of Sections 14(d)(4), 14(e) and 20(a) of the

Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78n(d)(4), 78n(e), 78t(a), and

U.S. Securities and Exchange Commission (“SEC”) Rule 14d-9, 17 C.F.R. §240.14d-9(d) (“Rule

14d-9”), to enjoin the expiration of a tender offer (the “Tender Offer”) on a proposed transaction,

pursuant to which Arctic Cat will be acquired by Textron Inc. (“Textron”) through its wholly

owned subsidiary, Aces Acquisition Corp. (“Purchaser”) (the “Proposed Transaction”).

       2.      On January 25, 2017, Arctic Cat issued a press release announcing entry into an

Agreement and Plan of Merger dated January 24, 2017 (the “Merger Agreement”) to sell Arctic

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Cat to Textron. Under the terms of the Merger Agreement, Textron will acquire all outstanding

shares of Arctic Cat for $18.50 in cash per share of Arctic Cat common stock (the “Merger

Consideration”). Textron, through Purchaser, commenced the Tender Offer on February 2,

2017. The Tender Offer is scheduled to expire at 5:00 p.m. New York City Time on March 3,

2017. The Proposed Transaction is valued at approximately $247 million.

       3.      On February 2, 2017, Arctic Cat filed a Solicitation/Recommendation Statement

on Schedule 14D-9 with the SEC (the “Recommendation Statement”) that omitted or

misrepresented material information regarding the Proposed Transaction in violation of Sections

14(d)(4), 14(e) and 20(a) of the Exchange Act.         The Recommendation Statement, which

recommends that Arctic Cat stockholders tender their shares in favor of the Proposed

Transaction, omits or misrepresents material information concerning, among other things: (i)

Arctic Cat management’s projections, utilized by the Company’s financial advisor, Robert W.

Baird & Co. Incorporated (“Baird”) in its financial analyses; (ii) the valuation analyses

performed by Baird in connection with the rendering of its fairness opinion; and (iii) the

background and sale process leading up to the Proposed Transaction. The failure to adequately

disclose such material information constitutes a violation of Sections 14(d)(4), 14(e) and 20(a) of

the Exchange Act as stockholders need such information in order to make a fully informed

decision whether to tender their shares in support of the Proposed Transaction.

       4.      In short, the Proposed Transaction will unlawfully divest Arctic Cat’s public

stockholders of the Company’s valuable assets without fully disclosing all material information

concerning the Proposed Transaction to Company stockholders.             To remedy defendants’

Exchange Act violations, Plaintiff seeks to enjoin the expiration of the Tender Offer unless and

until such problems are remedied.

                                JURISDICTION AND VENUE


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        5.     This Court has jurisdiction over all claims asserted herein pursuant to Section 27

of the Exchange Act because the claims asserted herein arise under Sections 14(d)(4), 14(e) and

20(a) of the Exchange Act.

        6.     This Court has jurisdiction over defendants because Arctic Cat is incorporated

and headquartered in Minnesota and each defendant is either a corporation that conducts

business in and maintains operations within this District, or is an individual with sufficient

minimum contacts with this District so as to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

        7.     Venue is proper under 28 U.S.C. §1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

        8.     Plaintiff is, and was all times relevant hereto, a stockholder of Arctic Cat.

        9.     Defendant Arctic Cat is a Minnesota corporation with its principal executive

offices located at 500 North 3rd Street, Minneapolis, Minnesota 55401. Arctic Cat designs,

engineers and manufactures all-terrain vehicles, side-by-sides and snowmobiles.                The

Company’s common stock is traded on the NASDAQ under the ticker symbol “ACAT.”

        10.    Defendant Christopher T. Metz (“Metz”) has been President and Chief Executive

Officer (“CEO”) of the Company since December 2014 and a director of the Company since

2014.

        11.    Defendant Kenneth J. Roering (“Roering”) is Chairman of the Board and has been

a director of the Company since 1996.

        12.    Defendant Joseph F. Puishys (“Puishys”) has been a director of the Company

since 2012.




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        13.    Defendant Kim A. Brink (“Brink”) has been a director of the Company since

2015.

        14.    Defendant Tony J. Christianson (“Christianson”) has been a director of the

Company since 2009.

        15.    Defendant Andrew S. Duff (“Duff”) has been a director of the Company since

2015.

        16.    Defendant Susan E. Lester (“Lester”) has been a director of the Company since

2004.

        17.    Defendants Metz, Roering, Puishys, Brink, Christianson, Duff and Lester are

collectively referred to herein as the “Board” or the “Individual Defendants.”

                               OTHER RELEVANT ENTITIES

        18.    Textron is a Delaware corporation with its principal place of business at 40

Westminster Street, Providence, Rhode Island 02903. Textron is an American global aerospace,

defense, security and advanced technologies industrial company. Textron’s common stock is

traded on the New York Stock Exchange under the ticker symbol “TXT.”

        19.    Purchaser is a Minnesota corporation and an indirect wholly-owned subsidiary of

Textron.

                               CLASS ACTION ALLEGATIONS

        20.    Plaintiff brings this action individually and as a class action pursuant to Rule 23

of the Federal Rules of Civil Procedure on behalf of all holders of the common stock of Arctic

Cat, and their successors in interest, who have been and will be harmed by the wrongful conduct

of the defendants as alleged herein (the “Class”). The Class excludes defendants, and any

person, firm, trust, corporation or other entity related to, affiliated with, or controlled by any of

the defendants, as well as the immediate families of the Individual Defendants.


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       21.      This action is properly maintainable as a class action.

       22.      The Class is so numerous that joinder of all members is impracticable. As of

January 31, 2017, the total number of issued and outstanding Arctic Cat shares was 13,061,142.

Members of the Class are scattered throughout the United States and are so numerous that it is

impracticable to bring them all before this Court.

       23.      Questions of law and fact exist that are common to the Class and predominate

over questions affecting any individual Class member, including, among others:

                (a)    whether defendants have violated Section 14(d)(4) of the Exchange Act

and Rule 14d-9 promulgated thereunder;

                (b)    whether the Individual Defendants have violated Section 14(e) of the

Exchange Act;

                (c)    whether the Individual Defendants have violated Section 20(a) of the

Exchange Act; and

                (d)    whether Plaintiff and the Class would suffer irreparable injury were the

Proposed Transaction consummated as presently anticipated;

       24.      Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and Plaintiff has the same interests as the other members of the

Class. Accordingly, Plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

       25.      The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications with respect to individual members of the

Class, which would establish incompatible standards of conduct for defendants, or adjudications

with respect to individual members of the Class which would, as a practical matter, be


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dispositive of the interests of the other members not parties to the adjudications or substantially

impair or impede their ability to protect their interests.

        26.     Preliminary and final injunctive relief on behalf of the Class as a whole is entirely

appropriate because defendants have acted, or refused to act, on grounds generally applicable

and causing injury to the Class.

                                SUBSTANTIVE ALLEGATIONS

Company Background

        27.     Arctic Cat is a Minnesota corporation which was founded in 1960. The Company

designs, engineers, manufactures and markets snowmobiles, all-terrain vehicles (“ATVs”) and

recreational off-highway vehicles (“side-by-sides” or “ROVs”). The Company also provides

related parts, garments and accessories under the Arctic Cat and MotorFist brand names.

        28.     Arctic Cat markets its products through independent dealers located throughout

the United States, Canada, and Europe and distributors representing dealers in Europe, Russia,

South America, the Middle East, China, Asia and other international markets.

        29.     Arctic Cat produces a full line of snowmobiles, consisting of 60 models currently

categorized as Trail, Crossover, Mountain, Touring and Utility. The Company’s original focus,

snowmobiles, continue to account for a significant portion of Arctic Cat’s sales. Indeed, for

fiscal years ending March 31, 2016, 2015 and 2014, snowmobiles accounted for 41%, 43% and

39%, respectively, of the Company’s net sales.

        30.     The Company introduced its first ATV in December 1995. Its product line has

since grown to 28 models, including youth, competition, sport, recreation, 2-Up Trail and utility

models.

        31.     Arctic Cat expanded into side-by-sides in 2006 with the Prowler – a utility model

with a large rear, mainly intended for utility and farm use. The Company subsequently launched


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the Wildcat 1000 sport model ROV in 2012 and has continued to expand its Wildcat line. ATVs

and ROVs collectively accounted for 44%, 41% and 45% of the Company’s net sales for fiscal

years ending March 31, 2016, 2015 and 2014, respectively.

The Sale Process

       32.     In late May 2016, Textron’s CEO, Scott Donnelly (“Donnelly”), contacted

defendant Metz to inform him that Textron was continuing its expansion into the powersports

industry and was interested in acquiring Arctic Cat.       In early June 2016, defendant Metz

informed Donnelly that the Board did not believe it was an appropriate time to engage in such

discussions given the Company’s focus on pursuing its business plan.

       33.     On August 16, 2016, Donnelly informed defendant Metz that Textron would be

submitting a non-binding indication of interest to acquire Arctic Cat for $20.00 per share in cash.

       34.     On August 30, 2016, the Board engaged Baird as a financial advisor to address

strategic alternatives, assist the Company in evaluating its debt capital structure and review

potential refinancing and debt capital raising options.

       35.     On October 6, 2016, Arctic Cat and Textron executed a confidentiality agreement.

Between October 2016 and January 2017, Textron conducted due diligence of the Company and

the parties held telephonic meetings to discuss Arctic Cat’s financial forecasts and other

diligence matters.

       36.     On December 7, 2016, Donnelly informed defendant Metz of Textron’s continued

interest in acquiring the Company at a purchase price of $20.00 per share in cash. Following

discussions at two board meetings on December 9 and December 13, 2016, the Board determined

to continue discussions with Textron instead of seeking potential third party bidders.

       37.     On December 23, 2016, Textron delivered a revised indication of interest to

acquire the Company for $21.00 per share in cash. Over the next few days, Baird, Textron and


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defendants Metz and Roering engaged in discussions regarding the terms of Textron’s proposal.

Despite Textron’s refusal to include a go-shop provision in the deal, the Company continued to

engage in discussions solely with Textron, rather than contact other potential parties.

       38.     On January 17, 2017, Arctic Cat provided Textron with preliminary results for the

third fiscal quarter ended December 31, 2016, leading Textron to submit a reduced final offer

price of $18.50 per share on January 19, 2017. Over the next few days, the parties and their

advisors negotiated the terms of the Merger Agreement.

       39.     On January 23, 2017, the Board appointed the Minnesota Act Committee (the

“Committee”) to review the Proposed Transaction. The Committee is comprised of defendants

Roering, Brink, Christianson, Duff, Lester and Puishys. Baird rendered its fairness opinion and

each of the members of the Committee and the Board approved the Proposed Transaction. The

next day, Arctic Cat and Textron finalized and executed the Merger Agreement.

The Proposed Transaction

       40.     On January 25, 2017, Arctic Cat issued a press release announcing the Proposed

Transaction. The press release stated, in relevant part:

       MINNEAPOLIS--Jan. 25, 2017-- Arctic Cat Inc. (NASDAQ: ACAT) today
       announced that it has signed a definitive merger agreement under which Textron
       Inc. (NYSE: TXT) will acquire Arctic Cat in a cash transaction valued at
       approximately $247 million, plus the assumption of existing debt. Under the
       terms of the agreement, which was unanimously approved by the Arctic Cat board
       of directors, Textron, through a wholly owned subsidiary, will commence a tender
       offer to purchase all outstanding shares of Arctic Cat at $18.50 per share in cash,
       representing a 40.7 percent premium to the closing price of Arctic Cat's common
       stock on January 20, 2017. Arctic Cat anticipates that tender offer materials will
       be provided to shareholders no later than February 7, 2017. The completion of the
       acquisition is subject to customary conditions and regulatory approvals.

                                               ***

       Arctic Cat     will become part of Textron’s Specialized Vehicles business,
       maintaining    its iconic Arctic Cat brand, as well as its current manufacturing,
       distribution   and operational facilities, with a focus on growing the business.
       Arctic Cat     and Textron Specialized Vehicles have complementary product

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        portfolios of recreational, utility and specialized vehicles. The combined
        businesses will be well positioned to be a powersports industry leader with a
        wider product line-up, and allow for more aggressive investment in product
        development, dealer networks, marketing and customer service.

        Metz added: “We are proud of the progress our team has made to lay the
        foundation for Textron to continue taking this company forward. Textron plans to
        build on Arctic Cat’s strong brand and history of innovation. We expect many
        Arctic Cat employees to benefit from expanded career opportunities as part of a
        larger, more diversified company. On behalf of the Arctic Cat board and
        management team, we thank our dedicated employees for their hard work,
        commitment and pride in making Arctic Cat an enduring competitor and beloved
        brand in the powersports market. We are excited about Arctic Cat’s future.”

Insiders’ Interests in the Proposed Transaction

        41.      Arctic Cat insiders are the primary beneficiaries of the Proposed Transaction, not

the Company’s public stockholders. The Board and the Company’s executive officers will receive

unique benefits from the Proposed Transaction not available to Plaintiff and the public stockholders

of Arctic Cat.

        42.      For example, as a result of the Proposed Transaction, Company management

and the Board members will receive an immediate payday as a result of the accelerated

vesting of any unvested Company stock options, restricted stock units and restricted stock

awards – benefits not available to the Company’s public stockholders.

        43.      Additionally, if they are terminated in connection with the Proposed Transaction,

Arctic Cat’s named executive officers stand to receive significant payments in the form of golden

parachute compensation, as set forth in the following table:
                                                                  Perquisites/
                              Cash              Equity             Benefits             Total
Name                          ($) (1)            ($) (2)             ($) (3)             ($)
Christopher T. Metz           4,886,000 (4)      1,598,940 (5)            67,340 (6)    6,552,280
Christopher J. Eperjesy       1,652,868 (7)        466,231 (8)            64,775 (9)    2,183,874
Tracy J. Crocker                953,909 (10)       298,507 (11)           60,014 (12)   1,312,430
Greg Williamson                 958,173 (13)       357,746 (14)           63,981 (15)   1,379,900
Bradley D. Darling (16)              —                  —                     —                —



The Recommendation Statement Contains Numerous Material Misstatements or Omissions


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        44.     On February 2, 2017, the defendants filed the materially incomplete and

misleading Recommendation Statement with the SEC and disseminated it to Arctic Cat’s

stockholders. The Recommendation Statement misrepresents or omits material information that

is necessary for the Company’s stockholders to make an informed decision whether to tender

their shares in connection with the Proposed Transaction.

        45.     Specifically, as set forth below, the Recommendation Statement fails to provide

Company stockholders with material information or provides them with materially misleading

information concerning (i) Arctic Cat management’s projections, utilized by the Company’s

financial advisor, Baird, in its financial analyses; (ii) the valuation analyses performed by Baird

in connection with the rendering of its fairness opinion; and (iii) the background and sale process

leading up to the Proposed Transaction. Accordingly, Arctic Cat stockholders are being asked to

tender their shares in connection with the Proposed Transaction without all material information

at their disposal.

Material Omissions Concerning Arctic Cat’s Financial Projections

        46.     With respect to Arctic Cat’s projections provided by Arctic Cat management and

relied upon by Baird in performing its analyses, the Recommendation Statement discloses

projections for various non-GAAP metrics including Adjusted EBITDA and Unlevered Free

Cash Flow, but fails to provide line item projections for the metrics used to calculate these non-

GAAP measures or otherwise reconcile the non-GAAP projections to GAAP. The omission of

the aforementioned line item projections renders the non-GAAP projections included in the

Recommendation Statement materially misleading and incomplete.

        47.     The importance of reconciling between GAAP and non-GAAP financial measures

has long been widely acknowledged. The SEC adopted “Regulation G” in 2003, in response to

the mandate set forth in Section 401(b) of the Sarbanes-Oxley Act that rules be enacted to


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regulate the use of pro forma financial information. Regulation G prohibits the use of non-

GAAP financial measures outside of SEC filings unless they are accompanied by the most

directly comparable GAAP accounting measure, as well as a reconciliation of the two. Such

reconciliations were deemed necessary to address the proliferation of non-GAAP financial

measures lacking a uniform definition and therefore carrying the risk of misleading investors.

       48.       The Recommendation Statement also fails to disclose Arctic Cat’s Unlevered Free

Cash Flow for fiscal 2017 and Arctic Cat management’s projection line items that Baird relied

on to calculate Unlevered Free Cash Flow for fiscal 2017-2022, including operating income,

taxes, depreciation and amortization, change in working capital (excluding cash and debt) and

capital expenditures. These material omissions of the best estimates of the Company’s financial

future misleads Arctic Cat’s stockholders by providing only selected information. The omissions

need to be remedied prior to the expiration of the Tender Offer in order to allow Arctic Cat

stockholders to make a fully informed decision on the Proposed Transaction.

       49.       Omission of this material information makes the following Recommendation

Statement information false and/or misleading:

                 (a)        From pages 33-34 of the Recommendation Statement:

       Projected Financial Information

       Arctic Cat's senior management does not, as a matter of course, make public
       forecasts or projections as to its future financial performance due to the
       unpredictability of the underlying assumptions and estimates. However, before
       entering into the Merger Agreement, representatives of Textron received certain
       forward-looking information concerning Arctic Cat's anticipated or potential
       operating performance, and the following projected financial information (the
       "Forecasts") were provided to Baird for use in connection with its Fairness
       Opinion.

                                               Forecasts
          ($ in millions)     2017E   2018P   2019P        2020P   2021P       2022P   CY 2017P


          Net Sales         $ 573.8 $ 662.6 $ 769.1 $ 908.0 $      1,100.5 $   1,139.0 $ 674.6
          Gross Profit         69.7   111.2   142.4   182.5          232.6       240.7   118.9

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                                  $         $          $            $            $              $               $
                  Adjusted
                    EBITDA
                   (1)
                                  $ (28.1 ) $   15.2 $         35.1 $     65.2 $        107.0 $         110.8 $     26.3

                         (1) Presented on a non-GAAP basis as described below.

            Unlevered free cash flow was derived from the estimates and projections relating
            to the Arctic Cat's Adjusted EBITDA, or earnings before interest expense, income
            taxes, depreciation and amortization expense (adjusted to take into account certain
            non-recurring items), prepared by Arctic Cat in order to calculate Arctic Cat's tax
            effected net operating income, which Baird used to calculate further adjusted to
            arrive at unlevered free cash flow. The unlevered free cash flow information is
            summarized below.
($ in millions)                                        2018P             2019P          2020P           2021P           2022P


Unlevered Free Cash Flow (1)                       $       40.7     $       (12.4 ) $      16.0     $      37.9     $      50.0


                   (1) Presented on a non-GAAP basis. In the course of preparing the Forecasts, Arctic Cat did not
                       develop estimates as to unlevered free cash flow. The unlevered free cash flow was calculated
                       based upon the Forecasts provided by Arctic Cat, as set forth above, as Adjusted EBITDA less
                       depreciation and amortization, less taxes, plus depreciation and amortization, less capital
                       expenditures, less increases in net working capital. Arctic Cat did not deliver estimates as to
                       unlevered free cash flows to Textron.

            The Forecasts do not purport to present operations in accordance with U.S.
            generally accepted accounting principles (" GAAP "). Adjusted EBITDA is
            defined as earnings before interest expense, income taxes, depreciation and
            amortization expense (EBITDA), adjusted to take into account non-recurring
            items specified by management, including legal settlements. Adjusted EBITDA is
            not a financial measure pursuant to GAAP and should not be considered in
            isolation. Adjusted EBITDA has limitations as an analytical tool because, among
            other things, Adjusted EBITDA: (1) does not reflect Arctic Cat's cash
            expenditures or future requirements for capital expenditures; (2) does not reflect
            changes in, or cash requirements for, Arctic Cat's working capital needs; (3) does
            not reflect cash requirements for income taxes; (4) EBITDA does not reflect
            interest expense for Arctic Cat's corporate indebtedness; and (5) although
            depreciation and amortization are non-cash charges, the assets being depreciated
            and amortized will often have to be replaced, and Adjusted EBITDA does not
            reflect any cash requirements for these replacements. Shareholders are
            encouraged to review Arctic Cat's GAAP consolidated financial statements
            included in its periodic reports filed with the SEC, and Shareholders should not
            rely solely or primarily on Adjusted EBITDA or any other single financial
            measure to evaluate Arctic Cat's liquidity or financial performance calculated and
            presented in accordance with GAAP.

Material Omissions Concerning Baird’s Financial Analyses



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       50.     The Recommendation Statement also describes Baird’s fairness opinion and the

various valuation analyses it performed in support of its opinion. However, the description of

Baird’s fairness opinion and analyses fails to include key inputs and assumptions underlying

these analyses. Without this information, as described below, Arctic Cat’s public stockholders

are unable to fully understand these analyses and, thus, are unable to determine what weight, if

any, to place on Baird’s fairness opinion in determining whether to tender their shares in

connection with the Proposed Transaction.         This omitted information, if disclosed, would

significantly alter the total mix of information available to Arctic Cat’s stockholders.

       51.     The Recommendation Statement fails to disclose various material elements of the

financial analyses performed by Baird. For example, with respect to Baird’s Discounted Cash

Flow Analysis, the Recommendation Statement fails to disclose: (a) the individual inputs and

assumptions utilized by Baird to derive the discount rate range of 15% to 17%; (b) the implied

terminal pricing multiples corresponding to the assumed perpetuity growth rates of 2% to 4%;

and (c) Baird’s basis for only using unlevered free cash flows from fiscal year 2018 through

2022 in its analyses (and not 2017).

       52.     In addition, with respect to Baird’s Selected Publicly Traded Company Analysis,

the Recommendation Statement fails to disclose the objective selection criteria and the individual

multiples for each of the selected public companies analyzed by Baird, as well as any

benchmarking analyses Baird performed for Arctic Cat in relation to the selected public

companies.

       53.     Similarly, with respect to Baird’s Selected Transactions Analysis, the

Recommendation Statement fails to disclose the objective selection criteria and the individual

multiples for each of the selected transactions analyzed by Baird, as well as any benchmarking

analyses Baird performed for Arctic Cat in relation to the target companies.


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       54.    Omission of this material information makes the following Recommendation

Statement information false and/or misleading:

              (a)         From pages 22-25 of the Recommendation Statement:

       Selected Publicly Traded Company Analysis

       Baird reviewed certain publicly available financial information and stock market
       information for certain publicly traded companies that Baird deemed relevant.
       The group of selected publicly traded companies reviewed is listed below.

                    •                                           •
                        BRP, Inc.                                   Malibu Boats, Inc.


                    •                                           •
                        Brunswick Corporation                       MCBC Holdings, Inc.


                    •                                           •
                        Harley Davidson, Inc.                       Polaris Industries, Inc.

       Baird selected these companies based on a review of publicly traded companies
       that, in Baird's professional judgment, possessed general business, operating and
       financial characteristics representative of companies in the industry in which
       Arctic Cat operates. Baird noted that none of the companies reviewed is identical
       to Arctic Cat and that, accordingly, the analysis of such companies necessarily
       involves complex considerations and judgments concerning differences in the
       business, operating and financial characteristics of each company and other
       factors that affect the public market values of such companies.

       For each company, Baird calculated the "equity market value" (defined as the
       market price per share of each company's common stock multiplied by the total
       number of diluted common shares outstanding of such company, including net
       shares issuable upon the exercise of stock options and warrants). In addition,
       Baird calculated the "total market value" (defined as the equity market value plus
       the book value of each company's total debt, preferred stock and minority
       interests, less cash, cash equivalents and marketable securities). Baird calculated
       the multiples of each company's total market value to its LTM (ended
       September 30, 2016, for all companies except for BRP, Inc., which ended
       October 31, 2016, and MCBC Holdings, Inc., which ended October 2, 2016) and
       projected calendar year 2017 EBITDA. Stock market and historical financial
       information for the selected companies was based on publicly available
       information as of January 19, 2017, and projected financial information was based
       on publicly available research reports as of such date. A summary of the implied
       multiples is provided in the table below.

                                                         Selected Company Multiples
                                                 Low       Mean           Median           High


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       Adj. EBITDA
         LTM                                             7.0 x             8.7 x            8.7 x          10.5 x
         CY 2017P                                        6.7 x             7.6 x            7.7 x           8.4 x

       In addition, Baird calculated the implied per share equity values of the Shares
       based on the trading multiples of the selected public companies and compared
       such values to the Per Share Equity Purchase Price of $18.50 per share. The
       implied per share equity values, based on the multiples that Baird deemed
       relevant, are summarized in the table below.
                                                                     Implied Arctic Cat Equity Value Per
                                                                                    Share
                                                         Low               Mean             Median             High
Adj. EBITDA
  Applying Selected Company LTM EBITDA
     Multiples
     LTM                                                    N/M                N/M                  N/M             N/M

    LTM Normalized Margin                            $      8.28       $      11.50     $       11.43      $     14.96
  Applying Selected Company CY 2017P EBITDA
    Multiples

    CY 2017P (Management)                            $      8.76       $      12.09     $       12.02      $     15.68

    CY 2017P (Consensus)                             $      9.00       $      12.39     $       12.32      $     16.04

Avg. Equity Value per Share                          $      8.68       $      11.99     $       11.92      $     15.56




       Baird compared the implied per share equity values in the table above with the
       Per Share Equity Purchase Price implied in the Merger in rendering its opinion.

       Selected Transactions Analysis

       Baird reviewed certain publicly available financial information concerning
       completed or pending acquisition transactions that Baird deemed relevant. The
       group of selected acquisition transactions is listed below.
            Date Announced                 Target                           Acquiror
             10/12/2016      •                                 •
                                 Transamerican Auto Parts          Polaris Industries, Inc.
            10/03/2016           Company, LLC

            07/01/2016                                         •
                             •                                     Winnebago
            04/18/2012           Grand Design RV                   Industries, Inc.

            01/08/2008
                             •                                 •
            12/22/2006           Jayco, Inc.                       Thor Industries, Inc.


                             •                                 •
                                 Ducati Motor                      AUDI AG

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                         Holding S.p.A.

                                                           •
                     •                                         Compass Diversified
                         Fox Factory, Inc                      Holdings


                     •                                     •
                         KTM Power Sports AG                   CROSS Industries AG



  Baird chose these acquisition transactions, in its professional judgment, based on
  a review of completed acquisition transactions involving target companies that
  possessed general business, operating and financial characteristics representative
  of companies in the industry in which Arctic Cat operates. Baird noted that none
  of the acquisition transactions or subject target companies reviewed is identical to
  the Transactions or Arctic Cat, respectively, and that, accordingly, the analysis of
  such acquisition transactions necessarily involves complex considerations and
  judgments concerning differences in the business, operating and financial
  characteristics of each subject target company and each acquisition transaction
  and other factors that affect the values implied in such acquisition transactions.

  For each transaction, Baird calculated the implied "total purchase price" (defined
  as the equity purchase price plus the book value of each target company's total
  debt, preferred stock and minority interests, less cash, cash equivalents and
  marketable securities). Baird calculated the multiples of each target company's
  implied total purchase price to its adjusted LTM EBITDA. A summary of the
  implied multiples is provided in the tables below.

                                                                Selected Transaction Multiples
                                                    Low             Mean           Median             High
  Adj. EBITDA
    LTM                                              7.6 x            8.8 x             8.7 x           10.9 x

  In addition, Baird calculated the implied per share equity values of the Shares
  based on the acquisition transaction multiples of the selected acquisition
  transactions and compared such values to the Per Share Equity Purchase Price of
  $18.50 per Share. The implied per share equity values, based on the multiples that
  Baird deemed relevant, are summarized in the table below.
                                                          Implied Arctic Cat Equity Value Per
                                                                         Share
                                              Low               Mean             Median              High
 Adj. EBITDA
   Applying Selected Transaction
      LTM EBITDA Multiples
      LTM                                      N/M                  N/M               N/M               N/M

     LTM Normalized Margin                $     9.37       $       11.78      $      11.57       $     15.70

     CY 2017P (Management)                $     9.89       $       12.39      $      12.17       $     16.47

 Avg. Equity Value per Share              $     9.63       $       12.09      $      11.87       $     16.09

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       Baird compared the implied per share equity values in the table above with the
       Per Share Equity Purchase Price implied in the Merger in rendering its opinion.

       Discounted Cash Flow Analysis

       Baird performed a discounted cash flow analysis utilizing Arctic Cat's projected
       unlevered free cash flows (defined as after-tax operating income, plus
       depreciation and amortization, less increases in net working capital (excluding
       cash and debt) and capital expenditures, from 2018 to 2022, as provided by Arctic
       Cat's senior management. In such analysis, Baird calculated the present values of
       the unlevered free cash flows from fiscal year 2018 through 2022 by discounting
       such amounts at rates ranging from 15% to 17%, which are estimates of Arctic
       Cat's weighted average cost of capital. Baird calculated the present values of the
       free cash flows beyond 2022 based on unlevered free cash flow perpetual growth
       rates ranging from 2% to 4% and discounting the resulting terminal values at rates
       ranging from 15% to 17%. The summation of the present values of the unlevered
       free cash flows and the present values of the terminal values produced equity
       values ranging from $12.47 to $18.79 per Share, as compared to the Per Share
       Equity Purchase Price of $18.50 per Share. Baird compared these implied per
       share equity values with the Per Share Equity Purchase Price implied in the
       Merger in rendering its opinion.

       The foregoing summary does not purport to be a complete description of the
       analyses performed by Baird or its presentations to Arctic Cat's Board of
       Directors. The preparation of financial analyses and an opinion as to fairness from
       a financial point of view is a complex process and is not necessarily susceptible to
       partial analyses or summary description. Baird believes that its analyses (and the
       summary set forth above) must be considered as a whole and that selecting
       portions of such analyses and factors considered by Baird, without considering all
       of such analyses and factors, could create an incomplete view of the processes and
       judgments underlying the analyses performed and conclusions reached by Baird
       and its opinion. Baird did not attempt to assign specific weights to particular
       analyses. Any estimates contained in Baird's analyses are not necessarily
       indicative of actual values, which may be significantly more or less favorable than
       as set forth therein. Estimates of values of companies do not purport to be
       appraisals or necessarily to reflect the prices at which companies may actually be
       sold. Because such estimates are inherently subject to uncertainty, Baird does not
       assume responsibility for their accuracy.

Material Omissions Concerning the Background of the Proposed Transaction

       55.    The Recommendation Statement also fails to disclose material information

relating to, among other things, the background of the Proposed Transaction, including:




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                  (a)   The timing and nature of all communications regarding future

employment and directorship of Arctic Cat’s officers and directors, including who participated in

all such communications; and

                  (b)   With respect to Baird’s potential conflicts of interest, (i) the details of

Baird’s 1.4% “transaction fee”, including the approximate dollar amount Baird is expected to

receive; (ii) how much compensation Baird has received for the services provided to Arctic Cat

within the past two years, including for “advis[ing] Arctic Cat on the refinancing of its existing

debt through a senior secured revolving credit facility”; and (iii) any services performed by Baird

for Textron or its affiliates during the prior two years, including the compensation received for

those services.

       56.        Omission of this material information makes the following Recommendation

Statement information false and/or misleading:

                  (a)   From page 16 of the Recommendation Statement:

       Continuing Management. The Board considered the fact that members of
       management may enter into certain agreements, arrangements or understandings
       with Textron regarding employment with the Surviving Company or Textron.

                  (b)   From pages 25-26 of the Recommendation Statement:

       As part of its investment banking business, Baird is engaged in the evaluation of
       businesses and their securities in connection with mergers and acquisitions,
       negotiated underwritings, competitive biddings, secondary distributions of listed
       and unlisted securities, private placements and valuations for estate, corporate and
       other purposes. Pursuant to an engagement letter dated December 30, 2016, Baird
       will receive a transaction fee equal to 1.4% of the transaction value for its services
       upon consummation of the Transactions. Pursuant to such engagement letter,
       Arctic Cat has also agreed to pay Baird a fee of $600,000 which was paid upon
       delivery of its opinion to the Board, and was to be paid regardless of the
       conclusions reached in such opinion or whether the Transactions are
       consummated (such fee to be creditable against the transaction fee described
       above). In addition, Arctic Cat has agreed to indemnify Baird against certain
       liabilities that may arise out of its engagement, including liabilities under the
       federal securities laws. Baird will not receive any other significant payment of
       compensation contingent upon the successful completion of the Transactions. In
       the past, Baird has provided financial advisory services to Arctic Cat for which

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       Baird received customary compensation. Specifically, within the past two years,
       Baird advised Arctic Cat on the refinancing of its existing debt through a senior
       secured revolving credit facility for which Baird received customary
       compensation.

       In the ordinary course of business, Baird may from time to time provide
       investment banking, advisory, brokerage and other services to clients that may be
       competitors or suppliers to, or customers or security holders of, Arctic Cat,
       Textron or Purchaser or any other party that may be involved in the Transactions
       and their respective affiliates or that may otherwise participate or be involved in
       the same or a similar business or industry as Arctic Cat, Textron or Purchaser. In
       addition, Baird and certain of its employees and affiliates, as well as investment
       funds in which they may have financial interests or with which they may co-
       invest, may from time to time hold or trade the securities of Arctic Cat (including
       the Shares), Textron or Purchaser for their own account or the accounts of its
       customers and, accordingly, may at any time hold long or short positions or effect
       transactions in such securities. Baird has also prepared equity analyst research
       reports from time to time regarding Arctic Cat and Textron, and may continue to
       do so, and has served as a market maker in the publicly traded securities of Arctic
       Cat and Textron. Baird's Private Wealth Management business unit maintains an
       ongoing relationship with Textron's Vice President and Treasurer. In the past
       24 months, Baird's institutional equity trading business unit has received trading
       commissions of approximately $6.3 million from T. Rowe Price Associates, Inc.
       and approximately $6.2 million from Fidelity Management & Research Company.
       Each of T. Rowe and Fidelity beneficially own 5% or more of the Shares. Baird's
       fixed income investment management business unit holds fixed income securities
       of Textron with a par value of $10,000 in separately managed accounts of its
       clients.

       57.     Defendants’ failure to provide Arctic Cat stockholders with the foregoing material

information renders the statements in the “Background of the Transaction,” “Reasons for the

Recommendation of the Minnesota Act Committee and Arctic Cat’s Board” and “Opinion of

Arctic Cat’s Financial Advisor” sections of the Recommendation Statement false and/or

materially misleading and constitutes a violation of Sections 14(d)(4), 14(e), and 20(a) of the

Exchange Act. The Individual Defendants were aware of their duty to disclose this information

and acted negligently (if not deliberately) in failing to include this information in the

Recommendation Statement. Absent disclosure of the foregoing material information prior to

the expiration of the Tender Offer, Plaintiff and the other members of the Class will be unable to

make a fully-informed decision whether to tender their shares in connection with the Proposed

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Transaction and are thus threatened with irreparable harm warranting the injunctive relief sought

herein.

                                      CLAIMS FOR RELIEF

                                               COUNT I

                      Class Claims Against All Defendants for Violations
                   of Section 14(d) of the Exchange Act and SEC Rule 14d-9

          58.   Plaintiff repeats all previous allegations as if set forth in full.

          59.   Defendants have caused the Recommendation Statement to be issued with the

intention of soliciting Arctic Cat stockholders to tender their shares in the Tender Offer.

          60.   Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated

thereunder require full and complete disclosure in connection with tender offers.

          61.   The Recommendation Statement violates Section 14(d)(4) and Rule 14d-9

because it omits material facts, including those set forth above, which omission renders the

Recommendation Statement false and/or misleading.

          62.   Defendants knowingly or with deliberate recklessness omitted the material

information identified above from the Recommendation Statement, causing certain statements

therein to be materially incomplete and therefore misleading.                Indeed, while defendants

undoubtedly had access to and/or reviewed the omitted material information in connection with

approving the Proposed Transaction, they allowed it to be omitted from the Recommendation

Statement, rendering certain portions of the Recommendation Statement materially incomplete

and therefore misleading.

          63.   The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiff and the Class, who will be deprived of their right to make an informed

decision whether to tender their shares if such misrepresentations and omissions are not

corrected prior to the expiration of the Tender Offer. Plaintiff and the Class have no adequate

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remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff and the

Class be fully protected from the immediate and irreparable injury that defendants’ actions

threaten to inflict.

                                              COUNT II

         Class Claims Against All Defendants for Violations of Section 14(e) of the Exchange

Act

         88.    Plaintiff repeats all previous allegations as if set forth in full.

         89.    Defendants violated Section 14(e) of the Exchange Act by issuing the

Recommendation Statement in which they made untrue statements of material facts or failed to

state all material facts necessary in order to make the statements made, in light of the

circumstances under which they are made, not misleading, or engaged in deceptive or

manipulative acts or practices, in connection with the Tender Offer.

         90.    Defendants knew that Plaintiff would rely upon their statements in the

Recommendation Statement in determining whether to tender its shares pursuant to the Tender

Offer.

         91.    As a direct and proximate result of these defendants’ unlawful course of conduct

in violation of Section 14(e) of the Exchange Act, absent injunctive relief from the Court,

Plaintiff has sustained and will continue to sustain irreparable injury by being denied the

opportunity to make an informed decision in deciding whether or not to tender its shares.

                                              COUNT III

                       Class Claims Against the Individual Defendants for
                         Violation of Section 20(a) of the Exchange Act

         92.    Plaintiff repeats all previous allegations set forth above as if fully set forth herein.

         93.    The Individual Defendants acted as controlling persons of Arctic Cat within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

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officers and/or directors of Arctic Cat and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Recommendation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       94.     Each of the Individual Defendants as controlling persons of Arctic Cat was

provided with or had unlimited access to copies of the Recommendation Statement and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements

were issued and had the ability to prevent the issuance of the statements or cause the statements

to be corrected.

       95.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the securities

violations as alleged herein, and exercised the same. The Recommendation Statement at issue

contains the unanimous recommendation of each of the Individual Defendants to approve the

Proposed Transaction. They were thus directly involved in the making of this document.

       96.     In addition, as the Recommendation Statement sets forth at length, and as

described herein, the Individual Defendants were each involved in negotiating, reviewing, and

approving the Proposed Transaction. The Recommendation Statement purports to describe the

various issues and information that they reviewed and considered — descriptions which had

input from the Individual Defendants.

       97.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

                                   PRAYER FOR RELIEF


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       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Declaring this action to be properly maintainable as a class action and certifying

Plaintiff as the Class representative and Plaintiff’s counsel as Class counsel;

       B.      Preliminarily and permanently enjoining defendants and all those acting in

concert with them from consummating the Proposed Transaction until the Company and the

Individual Defendants disclose all material information regarding the Proposed Transaction;

       C.      In the event that the Proposed Transaction is consummated, rescinding it or

awarding rescissory damages to Plaintiff and the Class;

       D.      Awarding Plaintiff fees and expenses in connection with this litigation, including

reasonable attorneys’ and experts’ fees and expenses; and

       E.      Granting such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.




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DATED: February 8, 2017


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